Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 1 of 16 PAGEID #: 2013




                           Exhibit I
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 2 of 16 PAGEID #: 2014




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

                                                  :
  ROOT, INC., et al.,                             :    Case No. 2:23-cv-512
                                                  :
                 Plaintiffs,                      :    Judge Sarah D. Morrison
                                                  :
         v.                                       :    Magistrate Judge Chelsey M. Vascura
                                                  :
  BRINSON CALEB SILVER, et al.,                   :
                                                  :
                 Defendants.                      :


   PLAINTIFFS’ FIRST SET OF INTERROGATORIES, REQUESTS FOR ADMISSION,
    AND REQUESTS FOR PRODUCTION TO DEFENDANT WILLIAM CAMPBELL

         Pursuant to Rule 26, 33, 34, and 36 of the Federal Rules of Civil Procedure and the

  Court’s February 16, 2023 Order for expedited discovery, Plaintiffs Root, Inc., Caret Holdings,

  Inc., and Root Insurance Agency, LLC (collectively “Root” or “Plaintiffs”) request that, within

  14 days hereof, and in accordance with the Definitions and Instructions set forth below,

  Defendant William Campbell (“Mr. Campbell”) answer under oath the following interrogatories

  and requests for admission, and respond to the following requests for production (the “Discovery

  Requests”) and produce for inspection and copying at the offices of Vorys, Sater, Seymour and

  Pease LLP, 52 East Gay Street, Columbus, Ohio 43215, any and all documents described below

  that are in Mr. Campbell’s possession, custody, or control, including without limitation, those in

  possession, custody, or control of its agents, attorneys, or other representatives.

         Pursuant to Rule 26(e), each of the following Discovery Requests is deemed to be

  continuing to the date of trial. Root hereby requests supplementation of all responses to include

  any information acquired after these responses are given. Moreover, if Mr. Campbell learns that

  any response is inaccurate or incomplete, or if an answer becomes incomplete by reason of a
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 3 of 16 PAGEID #: 2015




  development occurring after the responses are provided, Mr. Campbell is under an obligation to

  promptly supplement each inaccurate or incomplete answer by service of supplemental responses

  to these Discovery Requests.

                               DEFINITIONS AND INSTRUCTIONS

         1.        “You,” “Your,” and “Mr. Campbell” means William Campbell or anyone acting

  on his behalf.

         2.        “Root” shall mean Plaintiffs Root, Inc., Caret Holdings, Inc., and Root Insurance

  Agency, LLC.

         3.        “Quantasy” shall mean Quantasy & Associates, LLC.

         4.        “Collateral Damage” shall mean Collateral Damage, LLC.

         5.        “Silver” shall mean Brinson Caleb “BC” Silver.

         6.        “Eclipse” shall mean Eclipse Home Design, LLC.

         7.        “McDaniel” shall mean Paige McDaniel.

         8.        “Complaint” shall mean the First Amended Verified Complaint Root filed in the

  above-captioned matter on February 14, 2023.

         9.        The “Litigation” shall mean Case No. 2:23-cv-00512 in the United States District

  Court for the Southern District of Ohio, Eastern Division.

         10.       A “document” or “documents” shall mean any medium on which information can

  be recorded or from which information can be obtained.

         11.       “Information” shall mean an assembly of assemblies of words, numbers, images,

  recorded audio signals, and/or recorded video signals.




                                                    2
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 4 of 16 PAGEID #: 2016




            12.   A “Person” means a natural person, as well as business entities, including, but not

  limited to partnerships, companies, corporations, proprietorships, joint ventures, government

  agencies, and unincorporated associations.

            13.   “Contract” shall mean any written or oral agreement to provide services or goods.

            14.   “Thing” or “Things” means any tangible item.

            15.   “Relating to” shall mean referring to, relating to, alluding to, responding to,

  reflecting, discussing, describing, commenting upon, showing, disclosing, analyzing, reporting

  about, explaining, mentioning, constituting, comprising, evidencing, setting forth, containing,

  summarizing or characterizing, either directly or indirectly, in whole or in part, the given subject

  matter.

            16.   “Identify” shall mean, with respect to any natural person, to state the full name,

  home address, business address, employer, and position or positions within each organization

  employing such person at the present time and at relevant time; and to state the full name,

  address, and principal place of business.

            17.   “Identify” shall mean, with respect to any document, to set forth the date thereof,

  the title (if any), the name of the person or persons to whom such document was given or

  transmitted, the present location and custodian of such document, and the topic dealt with therein

  with reasonable specificity, and to describe the relevant page or pages and line or lines thereof

  (or annex a copy to the responses to these Discovery Requests with appropriate designations of

  such page or pages and line or lines).

            18.   “Identify” shall mean, with respect to any oral statement, to set forth the date and

  place thereof, the name of the person or persons making, issuing or communicating the oral

  statement, the name of the person or persons to whom and in whose presence such oral statement




                                                    3
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 5 of 16 PAGEID #: 2017




  was made, and the substance thereof, and to identify each document in which such statement was

  recorded, described, or referred to.

         19.     “Identify” shall mean, with respect to any act, to describe the act, to set forth the

  date (or inclusive dates) when it occurred, to set forth the place or places where it occurred; and

  to identify each person whose activities resulted in the act.

         20.      “Identify” as it relates to funds shall mean (1) the date the funds were transferred;

  (2) the amount of the funds transferred (3) the identity of the account number and financial

  institution from whom the funds was received; (4) the identity of the account number and

  financial institution into which the funds were deposited.

         21.     “Identify” as it relates to Contracts shall mean: (1) the date of the agreement; (2)

  whether the agreement is written or oral; (3) if oral the terms and conditions of the agreement.

         22.     “Identify” as it relates to methods of communication shall mean the method of

  communication (e.g. email) and the specific address or number associated with that method of

  communication (e.g. email address, phone number, social media handle, etc.).

         23.     “Communication” or “communicate” shall mean every manner or means of

  disclosure, transfer, or exchange of information, and every instance of disclosure, transfer, or

  exchange of information, whether orally, by document, by telephone, electronic mail, or

  otherwise.

         24.     “Work Product” means any finished or draft work, presentation, project, or other

  material prepared for Root or for Root’s benefit pursuant to any Contract.

         25.     The plural shall include the singular and the singular shall include the plural.

         26.     “And” and “or” as used herein are both conjunctive and disjunctive.




                                                    4
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 6 of 16 PAGEID #: 2018




           27.      “Each” shall be construed to include the word “every,” and “every” shall be

  construed to include the word “each.”

           28.      “Any” shall be construed to include “all,” and “all” shall be construed to include

  “any.”

           29.      The present tense shall be construed to include the past tense and the past tense

  shall be construed to include the present tense.

           30.      Words not defined herein should be interpreted according to their plain meaning.

  If you are unsure about the meaning or scope of any request, please initiate a meet and confer

  prior to the response deadline so any issues may be resolved expeditiously.

           31.      Any responsive documents that are no longer in existence must be identified in a

  list. For each document, describe the time period during which such documents were

  maintained, the date when they ceased to exist, the circumstances under which they ceased to

  exist, and identify all persons knowledgeable of the circumstances under which the documents

  were maintained and ceased to exist.

           32.      If a claim is made that any document is privileged, constitutes attorney work

  product, or is otherwise not subject to disclosure, a response shall include a written statement for

  each document withheld that:

                 a. Identifies the person who prepared or authorized the document and all recipients

                    or addressees, including recipients of copies;

                 b. Specifies the date on which the document was prepared or transmitted;

                 c. Describes the nature of the document (e.g. letter, memorandum, notice, etc.);

                 d. Identifies the subject matter of the document;




                                                      5
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 7 of 16 PAGEID #: 2019




              e. If the document reflects or refers to a meeting or conversation, identifies all

                 persons who were present at or parties to the meeting or conversation and

                 describe who those persons are; and

              f. Sets forth the nature of and basis for the privilege or other ground asserted for

                 non-production.

        33.      Electronically stored information should be produced as follows:

              g. Produce documents as black & white Group IV Tiff images at 300 dpi. Each

                 image is named as the unique Bates number for that page. ESI that cannot render

                 to useable TIFF images (e.g, Spreadsheets, Presentations, Video files, Audio files,

                 etc.) shall be produced in native format. Native files are named with a unique

                 bates number and are produced with a corresponding Bates-numbered TIFF image

                 placeholder stating the document was produced in Native Format. The parties

                 hereby reserve their rights to seek other particular electronic documents in their

                 native form for good cause shown.

              h. Produce scanned paper documents with logical unitization (i.e., distinct

                 documents should not be merged into a single record, and single documents

                 should not be split into multiple records). Parties will make their best efforts to

                 have their vendors unitize documents correctly and will commit to address

                 situations where there are improperly unitized documents.

              i. Preserve and produce all documents with Parent-Child Relationships.

                 Productions should be prepared at a family-complete level where feasible.

              j. Produce extracted text for all non-redacted electronic files containing searchable

                 text. Produce OCR for all non-searchable or redacted files. Name each text file




                                                    6
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 8 of 16 PAGEID #: 2020




              with the beginning Bates number of each document. The text files will not

              contain the redacted portions of the documents. Native files must contain the text

              of the document and not the OCR version of the TIFF image placeholder.

           k. Produce each document with a Bates Number beginning with a prefix and a

              consistent number of digits that can be readily attributed to the producing party.

              Bates numbering is sequential within a document for all produced images and

              placeholders. Bates prefixes should be consistent throughout all documents

              produced by a single producing party.

           l. Produce an Image Cross-Reference File (IPRO or Opticon).

           m. Produce a Concordance delimited data file containing extracted metadata and

              objective coding. Produce metadata fields listed below if data exists in the native

              file. Produce the following objective coding fields for paper documents (to the

              extent practicable) (1) beginning Bates number; (2) ending Bates number; (3)

              beginning attachment Bates number; (4) ending attachment Bates number; and (5)

              source/custodian. Metadata fields:

  BegDoc                RecordType                  Received_Date_Time        CC
  EndDoc                Master_Date_Time            Original Filepath         BCC
  ParentDoc             SentOnDate_Time             Author                    eFile Subject
  AttachmentDocs        LastMod_Date_Time           To                        eMail Subject
  Custodian             FileName                    FullText_Path             From SMTP
  NativePath            FileSize                    BCC SMTP                  Message ID
  AttachCount           Application                 CC SMTP                   Conversation Index
  FileExt               MD5Hash                     Dedupe Custodians         To SMTP




                                                7
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 9 of 16 PAGEID #: 2021




                                      INTERROGATORIES

  INTERROGATORY NO. 1: Identify all documents that you intend to introduce into evidence
  or refer to at any hearing, deposition or trial in this matter.

  ANSWER:


  INTERROGATORY NO. 2: In accordance with Fed. Civ. R. 26(a)(1)(i) identify each
  individual likely to have discoverable information that you may use to support any claim or
  defense you will assert in this action.

  ANSWER:


  INTERROGATORY NO. 3: Identify all real property that you, or any entity controlled by
  you, owns, leases, or previously owned since November 2021, including the date such property
  was purchased.

  ANSWER:


  INTERROGATORY NO. 4: Describe, including the date, method of communication, and
  substance of the communication, each and every occasion in which you and Silver discussed
  Silver’s ownership or affiliation with Collateral Damage.

  ANSWER:


  INTERROGATORY NO. 5: Identify all methods of communication (i.e. text, emails,
  WhatsApp, etc.) by which you communicated with Silver.

  ANSWER:


  INTERROGATORY NO. 6: Identify all payment, compensation, or other receipt of funds by
  you in connection with work for Root.

  ANSWER:




                                                 8
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 10 of 16 PAGEID #: 2022




  INTERROGATORY NO. 7: Identify all bank accounts you own and/or use and provide the
  account numbers associated with such accounts.

  ANSWER:


  INTERROGATORY NO. 8: Describe, including the date, method of communication, and
  substance of the communication, each and every occasion in which you and Silver discussed
  Quantasy hiring or associating with Collateral Damage to perform work for Root or for the
  benefit of Root.

  ANSWER:




                                                9
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 11 of 16 PAGEID #: 2023




                            REQUESTS FOR ADMISSION

  REQUEST FOR ADMISSION NO. 1: Admit that Lauren Lanskie was not an employed by or
  otherwise associated with Collateral Damage in 2021.

  ANSWER:


  REQUEST FOR ADMISSION NO. 2: Admit that Lauren Lanskie was not an employed by or
  otherwise associated with Collateral Damage in 2022.

  ANSWER:


  REQUEST FOR ADMISSION NO. 3: Admit that Lauren Lanskie was never an owner,
  principal, or officer of Collateral Damage.

  ANSWER:


  REQUEST FOR ADMISSION NO. 4: Admit that Lauren Lanskie never executed any contract
  as a representative of Collateral Damage in 2021.

  ANSWER:


  REQUEST FOR ADMISSION NO. 5: Admit that Lauren Lanskie never executed any contract
  as a representative of Collateral Damage in 2022.

  ANSWER:


  REQUEST FOR ADMISSION NO. 6: Admit that Lauren Lanskie never sent an email from
  any email address associated with Collateral Damage in 2021.

  ANSWER:


  REQUEST FOR ADMISSION NO. 7: Admit that Lauren Lanskie never sent an email from
  any email address associated with Collateral Damage in 2022.

  ANSWER:



                                          10
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 12 of 16 PAGEID #: 2024




  REQUEST FOR ADMISSION NO. 8: Admit that you never disclosed to anyone at Root
  (except Silver) that Collateral Damage had been retained (by contract, subcontract or otherwise)
  to do work for Root.

  ANSWER:


  REQUEST FOR ADMISSION NO. 9: Admit that you never disclosed to anyone at Root
  (except Silver) that Collateral Damage was being paid by or to do work for Root.

  ANSWER:


  REQUEST FOR ADMISSION NO. 10: Admit that Silver owns and/or controls Collateral
  Damage.

  ANSWER:


  REQUEST FOR ADMISSION NO. 11: Admit that you knew that Silver owned and/or
  controlled Collateral Damage in 2021.

  ANSWER:


  REQUEST FOR ADMISSION NO. 12: Admit that you knew that Silver owned and/or
  controlled Collateral Damage in 2022.

  ANSWER:


  REQUEST FOR ADMISSION NO. 13: Admit that Collateral Damage never produced any
  Work Product for Root.

  ANSWER:




                                                 11
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 13 of 16 PAGEID #: 2025




                               REQUESTS FOR PRODUCTION

  REQUEST FOR PRODUCTION NO. 1: Produce all documents or other tangible items
  identified, or relied upon, in responding to the concurrently served Interrogatories.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 2: Produce any documents whereby anyone associated
  with Root directed you to associate with or hire Collateral Damage to perform work for Root or
  for the benefit of Root.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 3: Produce all documents and communications
  exchanged between you and Silver from January 2021 to present.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 4: Produce all documents and communications
  exchanged with Silver relating to Root, Collateral Damage, and/or Eclipse.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 5: Produce all documents or other tangible items
  exchanged with or related to Root.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 6: Produce all documents and communications you
  exchanged with or received from any person relating to subcontractor work performed for Root
  or for the benefit of Root.

  RESPONSE:




                                                12
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 14 of 16 PAGEID #: 2026




  REQUEST FOR PRODUCTION NO. 7: Produce all documents related to payments you
  received from or made to Quantasy, Collateral Damage, Silver, Eclipse, Lanskie, or others
  relating to your work with Root or Collateral Damage.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 8: Produce any bank records from January 1, 2021, to
  the present that reflect any payment to you by, or by you to, Collateral Damage, Eclipse, and/or
  Silver.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 9: Produce all other documents related to Root not
  requested above.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 10: Produce all documents that you intend to introduce
  into evidence or refer to at any hearing, deposition or trial in this matter.


  RESPONSE:




                                                 13
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 15 of 16 PAGEID #: 2027




                                         Respectfully submitted,

                                         /s/ William D. Kloss, Jr.
                                         William D. Kloss, Jr. (0040854), Trial Attorney
                                         Elizabeth S. Alexander (0096401)
                                         Grace E. Saalman (0101603)
                                         VORYS, SATER, SEYMOUR AND PEASE LLP
                                         52 East Gay Street, P.O. Box 1008
                                         Columbus, Ohio 43216-1008
                                         Phone: (614) 464-6360 Fax: (614) 719-4807
                                         wdklossjr@vorys.com
                                         esalexander@vorys.com
                                         gesaalman@vorys.com

                                         Matthew L. Kutcher (IL Bar No. 6275320)
                                         (application for pro hac vice forthcoming)
                                         COOLEY LLP
                                         110 N. Wacker Drive Suite 4200
                                         Chicago, IL 60606
                                         Phone (312)-881-6500
                                         Fax (312)-881 6598
                                         mkutcher@cooley.com

                                         Kristine A. Forderer (CA Bar No. 278754)
                                         (application for pro hac vice forthcoming)
                                         COOLEY LLP
                                         3 Embarcadero Center
                                         San Francisco, CA 94111
                                         Phone (415) 693-2128
                                         kforderer@cooley.com

                                         Counsel for Plaintiffs
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-9 Filed: 12/06/23 Page: 16 of 16 PAGEID #: 2028




                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and accurate copy of the foregoing was served on this 17th day

  of February 2023, via email upon counsel for Quantasy & Associates, LLC, William Campbell,

  Brinson Caleb Silver, Collateral Damage, LLC, and Eclipse Home Design, LLC, and via regular

  mail and hand-delivery upon Paige McDaniel as set forth below:

  Matthew D. Ridings (0079402)                        Paige McDaniel
  THOMPSON HINE LLP                                   5576 Alexanders Lake Rd.
  127 Public Square, 3900 Key Center                  Stockbridge, GA 30281
  Cleveland, Ohio 44114
  Telephone: 216.566.5561                             Aaron M. Jones (0096386)
  Facsimile: 216.566.5800                             BRENNAN MANNA DIAMOND
  Matt.Ridings@ThompsonHine.com                       250 Civic Center Dr., Suite 300
                                                      Columbus, OH 43215
  Jamar T. King (0091093)                             Telephone/Facsimile: 614.500.4206
  THOMPSON HINE LLP                                   AMJones@bmdllc.com
  10050 Innovation Drive, Suite 400                   Counsel for Brinson Caleb Silver, Collateral
  Miamisburg, OH 45342                                Damage, LLC, and Eclipse Home Design,
  Telephone: 937.443.6852                             LLC
  Facsimile: 937.443.6635
  Jamar.King@ThompsonHine.com

  Steven A. Block (IL Bar No. ___ )
  THOMPSON HINE LLP
  20 North Clark Street, Suite 3200
  Chicago, IL 60602-4101
  Telephone: 312.998.4242
  Facsimile: 312.998.4245
  Steven.Block@ThompsonHine.com

  Karim Sabbidine (NY Bar No. 5643994)
  THOMPSON HINE LLP
  335 Madison Ave., 12th Floor
  New York, NY 10017
  Telephone: 212.908.3944
  Facsimile: 212.344.6101
  Karim.Sabbidine@ThompsonHine.com
  Counsel for Quantasy & Associates, LLC and
  William Campbell
                                                      /s/ William D. Kloss, Jr.
                                                      William D. Kloss, Jr. (0040854)
